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                                         EXHIBIT 7
Affidavit of Comm'r. James Dzurenda
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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


DAVID S.L. PARKS
     Plaintiff,

      v.                                             3: 09-CV -00604-VLB

THERESA LANTZ, et al.
     Defendants.                                     JUNE 1, 2014



               AFFIDAVIT OF COMMISSIONER JAMES DZURENDA

I, James Dzurenda, hereby depose and say:

   1. I am of sound mind and legal age.

   2. Since 1987, I have been employed by the Connecticut Department of

      Correction, advancing in my career through various ranks from

      correctional officer to my current position of Commissioner.

   3. As Commissioner, I am responsible for the administrative oversight of one

      of the state's largest agencies with over 16,500 incarcerated inmates and

      4,000 supervised in the community. The Department encompasses all of

      the state's long-term correctional facilities, as well as Pretrial Detention

      Centers, Parole supervision and Community Correction systems.

  4. Before becoming Commissioner, I was the Deputy Commissioner of

      Operations for the Connecticut Department of Correction for 3 years. As

      the Deputy Commissioner of Operations, I oversaw the custody operations

      of all15 Department of Correction facilities in Connecticut. I oversaw the

      approximately 6,000 DOC employees who manage nearly 20,000 inmates.
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   Additionally, I oversaw the Department's Emergency Service Units,

   Security Division, and the Central Transportation Unit. As Deputy

   Commissioner, I was responsible for maintaining public safety and

   ensuring that a safe, secure, and humane environment for offenders and

   employees was maintained throughout every facility within the constraints

   of fiscal budget allotments.

5. For one year before becoming Deputy Commissioner, I was the South

   District Administrator. In that role, I supervised the operation of seven

   Connecticut correctional facilities. I was responsible for ensuring that

   these facilities operated in compliance with the Department of Correction's

   Administrative Directives, Connecticut General Statutes, and the American

   Correctional Association standards.

6. Before that, from April 2005 through July 2009, I was the Warden of Garner

   Correctional Institution ("Garner") a security level 4 facility, that houses

   approximately 630 inmates. I was responsible for all staff and operations

   of the facility which specializes in the management of a High Security

   Mental Health inmate population.

7. The security challenges posed within a correctional system are complex

   and multi-faceted. The State of Connecticut houses more than 16,000

   inmates on any given day in its various facilities.

8. Between 2004 and 2010, DOC operated approximately eighteen (18)

   correctional facilities, which housed thousands of inmates.



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9. The inmate population of the Department of Correction is distributed

   consistent with security and management considerations, statutory

   requirements, court orders or other formal agreements, and the

   classification of the inmate. Accordingly, inmates may be transferred

   between correctional units within the Department of Correction consistent

   with DOC's policies and administrative directives. Population management

   shall not discriminate based on race, creed, religion, color or national

   origin. See Exhibit 8, AD 9.1, section 1 (Eff. Date 8/3/98) & AD 9.1, section 1

   (Eff. Date 7/1/2006) (effective during the time of the events alleged in the

   Complaint); see also Conn. Gen. Stat.§ 18-86.

10. The Director of Offender Classification and Population Management or

   designee is responsible, in accordance with DOC policy and administrative

   directives, for all inmate transfers and placement. A transfer may not be

   refused by a receiving facility. Absent intervention by the Director of

   Offender Classification and Population Management (OCPM) or designee,

   the Unit Administrator (i.e. the warden) shall be responsible for inmate

   management within the unit. See Exhibit 8, AD 9.1, section 4 (Eff. Date

   8/3/98) & AD 9.1, section 4 (Eff. Date 7/1/2006).

11.AII pre-trial inmates and temporary surrenders shall remain at the admitting

   facility, which are DOC's county jails, either BCC, Hartford CC, New Haven

   CC, or Corrigan CC.

12. DOC Population Management and the Director of Offender Classification

   have the discretion to transfer pre-trial inmates from county jails to various
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   DOC facilities in order to manage the high volume of pre-trial inmates.

   Inmates with bonds higher than $500,000 are generally considered "high

   bond" pre-trial inmates and are often transferred out of county jails to high

   bond units at various DOC facilities.

13. Per the directive, transfer requests shall be considered in the following

   priority order: A. Emergency transfers; B. Priority transfers; C.

   Medical/Mental Health transfers; D. Population control transfers; E. Special

   needs transfers; F. Regular transfers; and, G. Court transfers. See Exhibit

   8, AD 9.1, section 6 (Eff. Date 8/3/98) & AD 9.1, section 6 (Eff. Date 7/1/2006).

14.A "regular transfer" includes reductions for overall risk levels. The Unit

   Administrator shall normally recommend a transfer placement to a facility

   with the same classification level as the inmate which best meets the

   inmate's programmatic needs. See Exhibit 8, AD 9.1, section 7(G)(1) (Eff.

   Date 8/3/98) & AD 9.1, section 7(G)(1) (Eff. Date 7/1/2006).

15. The Director of Offender Classification and Population Management or

   designee shall be authorized to transfer an inmate for medical or mental

   health purposes at the request of medical or mental health personnel.

   Such a transfer may be considered as an emergency, priority transfer or

   regular transfer. Upon resolution of the medical or mental health concern,

   the inmate shall be returned to the sending facility as soon as possible

   unless reclassification or reassignment is warranted and approved by the

   Director of Offender Classification and Population Management or

   designee. See Exhibit 8, AD 9.1, section 7(D) (Eff. Date 8/3/98) & AD 9.1,
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   section 7(D) (Eff. Date 7/1/2006) (clarifying "medical" to include both

   medical and mental health needs).

16.As the former Warden of Garner, I did not have the authority to transfer

   inmates between various DOC facilities. I would not be personally involved

   in the decisions to transfer inmates for medical or mental health reasons.

   was not personally involved in the decisions to transfer the plaintiff

   between Garner and MWCI.

17.During the time period relevant to the Complaint, Garner consisted of two

   separate inmate populations: the mental health population and the general

   population.

18. The mental health professionals at Garner would assess the mental health

   population and determine whether to transfer Garner's mental health

   population based upon their mental health treatment and needs.

19. The plaintiff was admitted to Bridgeport Correctional Center ("BCC") on

   10/25/2004. See Exhibit 9, RT 60.

20. Because the plaintiff had a bond of $500,000, he transferred from BCC to

   the high bond unit at the MacDougal- Walker Correctional Institution

   ("MWCI") on 11/15/2004. See Exhibit 10, Transfer History Record,

   11/15/2004.

21. The plaintiff transferred from Garner to MWCI on 9/27/2007 because of a

   "profile" with another inmate at Garner. Counselor Supervisor Kim Jones

   requested the transfer, and then OCPM approved the transfer. See Exhibit

   11, Transfer History Record, 9/27/2007.
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22.A "profile" is a record specifying the need and reason for keeping two (2)

   or more individuals apart from each other. See Exhibit 12, AD 9.9 (Eff. Date

   12/15/2006). DOC does not keep inmates with profiles at the same housing

   unit, and therefore, the plaintiffs transfer was necessary.

23. The plaintiff underwent a classification review in November of 2010.

24. The Classification Committee reduced the plaintiff's overall risk level from

   a 4 to a 3 on 11/15/2010. See Exhibit 13, Reclassification Form; see also

   Exhibit 14, Plaintiffs RT78- Risk History.

25. Under AD 9.1, section 7(G), the plaintiffs reduction in risk level

   necessitated his transfer to a level 3 facility transfer. See Exhibit 8.

26. Therefore, the plaintiff transferred on 11/24/2010 from MWCI, a level 4/5

   facility, to Osborn Cl ("Osborn"), a level 3 facility. See Exhibit 9, RT60.

27.High Security Monitoring is a designation which provides for increased

   supervision of inmates who pose a threat to the safety and security of the

   facility, staff, inmates or the public. The Unit Administrator (i.e. the

   warden), in consultation with the Director of Offender Classification and

   Population Management, may consider an inmate as a High Security Inmate

   if the inmate meets one or more of the criteria listed in Administrative

   Directive 9.4, which includes any information that indicates inmate may

   attempt to escape. See Exhibit 15, AD 9.4, section 13 (Eff. Date 10/1/98), AD

   9.4, section 14 (Eff. Date 1/1/2008), & AD 9.4, section 14 (Eff. Date1/31/2009).

28.An inmate on High Security Monitoring shall be classified as an overall risk

   level 4 or above and shall be housed in a level 4 or 5 facility. This
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   designation would require an inmate to transfer facilities if he/she was

   housed at a level 3 or lower facility at the time of designation. See Exhibit

   15, AD 9.4, section 13 (Eff. Date 10/1/98), AD 9.4, section 14 (Eff. Date

   1/1/2008), & AD 9.4, section 14 (Eff. Date1/31/2009). During the time period

   relevant to the Complaint, there was no DOC policy that required a High

   Security inmate to transfer facilities based upon his High Security status

   unless the inmate was at a level 3 or lower facility at the time of

   designation.

29.AD 9.4 provides that an inmate placed on High Security Monitoring shall be

   housed in a secured cell. The inmate shall be moved to a new cell at a

   minimum of every 90 days. See Exhibit 15, AD 9.4, section 13(E) (Eff. Date

   10/1/98), AD 9.4, section 14(E) (Eff. Date 1/1/2008), & AD 9.4, section 14 (E)

   (Eff. Date1/31/2009).

30. The Administrative Directive requires that an inmate's High Security status

   be reviewed at least every six (6) months. See Exhibit 15, AD 9.4, section

   13(H) (Eff. Date 10/1/98), AD 9.4, section 14(H) (Eff. Date 1/1/2008), & AD 9.4,

   section 14(H) (Eff. Date1/31/2009).

31.0n 2/9/2005, the MWCI Warden, Warden Sieminski, wrote a letter to the

   OCPM Director, Fred Levesque, recommending the plaintiffs placement on

   High Security monitoring. In the recommendation letter, Warden Sieminski

   recommended High Security Monitoring because of the plaintiffs history of

   escape and attempted escape from correctional facilities and because the

   plaintiff recently wrote a letter detailing security vulnerabilities in the
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   Walker Building. See Exhibit 16; see also Plaintiffs Letter, Doc. No. 17, pp.

   30-37.

32.Based upon Warden Sieminski's recommendation, the plaintiff was

   designated as High Security Monitoring.

33.1n his Complaint, the plaintiff states that I "asked him something to the

   effect of 'how the bus therapy was?"' See Doc. 146, '1167. I never said this

   to the plaintiff. In fact, I've never heard the term "bus therapy" until I read

   the plaintiffs Complaint.

34. Finally, I never retaliated against the plaintiff. I hold no ill-will or personal

   animus toward him. All of my actions were taken in good-faith as the

   Warden of Garner to oversee the facility and its inmates.




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                                  VERIFICATION

      I hereby swear that the foregoing is true and accurate to the best of my

knowledge and belief.




Subscribed and sworn to before me this   d~day of June, 2014.




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                                      tlslai)J Commissioner of the Court
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